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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

GREGORY V. MANCO, Ph.D,                      :
    Plaintiff,                               :
                                             :
       v.                                    :       CIVIL ACTION NO. 22-285
                                             :
ST. JOSEPH’S UNIVERSITY, et al.,             :
      Defendants.                            :

                                             ORDER

       AND NOW, this 6th        day of September, 2024, upon receipt of correspondence from

Plaintiff’s counsel seeking to seal Plaintiff’s Motion for Leave to Appeal that was filed on

September 5, 2024, and considering said correspondence to be a motion, it is hereby ORDERED

as follows:

       1. Plaintiff’s motion to seal is GRANTED; and

       2. The Clerk SHALL SEAL Plaintiff’s Motion for Leave to Appeal (ECF No. 146).

                                             BY THE COURT:


                                             /s/ Jeffrey L. Schmehl
                                             Jeffrey L. Schmehl, J.
